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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                       CASE NO. 13-CR-20892
                                               HON: GEORGE CARAM STEEH
 v.

 D-14 KUTUB MESIWALA, M.D.,

           Defendant.
 ______________________________/

                   PRELIMINARY ORDER OF FORFEITURE

       Pursuant to Federal Rule of Criminal Procedure 32.2, Defendant Kutub

 Mesiwala’s (“Defendant”) guilty plea to Count One of the Second Superseding

 Indictment, Defendant’s agreement to forfeiture in his Rule 11 Plea Agreement, the

 Plaintiff’s Application for Entry of Preliminary Order of Forfeiture, and all

 information contained in the record,

       IT IS HEREBY ORDERED THAT the Court shall GRANT and ENTER a

 money judgment against Defendant and in favor of the United States of America in

 the amount of $1,031,302.97.

       IT IS FURTHER ORDERED that the money judgment may be satisfied, to

 whatever extent possible, from any property owned or under the control of

 Defendant. To satisfy the money judgment, any assets that Defendant has now, or


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 may later acquire, may be forfeited as substitute assets under Title 21, United

 States Code, Section 853(p)(2).

       IT IS FURTHER ORDERED that pursuant to Federal Rule of Criminal

 Procedure 32.2, this Preliminary Order of Forfeiture shall become the Final Order

 of Forfeiture at the time of Defendant’s sentencing, shall be made part of the

 sentence and included in the Judgment, and shall not be the subject of ancillary

 proceedings given that the forfeiture consists entirely of a money judgment.

       IT IS FURTHER ORDERED that the Court shall retain jurisdiction to

 enforce the Preliminary Order of Forfeiture and to amend it as necessary, pursuant

 to Federal Rule of Criminal Procedure 32.2(e).


 IT IS SO ORDERED.

 Dated: May 5, 2015                     s/George Caram Steeh
                                        HON. GEORGE CARAM STEEH
                                        United States District Court Judge




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